UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
Vv. CASE No. 8:20-cr-77-T-36TGW

JOSE ISMAEL IRIZARRY

 

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

The defendant, by consent, has appeared before me pursuant to Rule 11,
F.R.Cr.P., and Rule 6.01(c)(12), M.D. Fla. Rules, and has entered pleas of guilty to Counts
One through Nineteen of the Indictment. After cautioning and examining the defendant
under oath concerning each of the subjects mentioned in Rule 11, I determined that the
guilty pleas were knowledgeable and voluntary as to these counts, and that the offenses
charged are supported by an independent basis in fact containing each of the essential
elements of such offenses. I therefore recommend that the pleas of guilty be accepted and

that the defendant be adjudged guilty and have sentence imposed accordingly.

Respectfully submitted,

THOMAS G. WILSON
UNITED STATES MAGISTRATE JUDGE

DATED: SEPTEMBER /‘ , 2020
NOTICE TO PARTIES

A party has fourteen days from this date to file written objections to the Report and
Recommendation’s factual findings and legal conclusions, or to request an extension of the
fourteen-day period. A party’s failure to file written objections waives that party’s right to
challenge on appeal any unobjected-to factual finding or legal conclusion the district judge adopts
from the Report and Recommendation. 11" Cir. R. 3-1.
